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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                   PIKEVILLE

 UNITED STATES,                            )
                                           )
        Plaintiff,                         )   Criminal No. 12-09-ART-HAI-(1)
                                           )
 v.                                        )
                                           )              ORDER
 DENNIS VARNEY,                            )
                                           )
        Defendant.                         )
                                           )
                                   *** *** *** ***

       After the defendant, Dennis Varney, pled guilty to the charges against him in this

case, he moved for release pending sentencing. R. 274. Magistrate Judge Hanly A. Ingram

recommended that this Court deny the motion. R. 275. Varney filed an objection to the

Magistrate Judge’s report and recommendation. R. 276. This Court reviews that objection

de novo. 28 U.S.C. § 636(b)(1). Because Varney has not provided exceptional reasons that

justify his release, this Court will adopt the Magistrate Judge’s report and recommendation

and deny Varney’s motion.

       Varney’s offense triggers a presumption of detention pending sentencing. Varney

pled guilty to conspiring to distribute Schedule II controlled substances in violation of 21

U.S.C. §§ 841(a)(1), 846. R. 266. That offense carries a maximum term of imprisonment of

ten years or more and triggers a presumption of detention pending sentencing. See 18 U.S.C.

§ 3143(a)(2); 18 U.S.C. § 3142(f)(1)(C). Because Varney pled guilty and the plea agreement

specifies a sixty-five month term of imprisonment, the two exceptions to that presumption of

detention do not apply. See 18 U.S.C. § 3143(a)(2)(A) (requiring the Court to find that a
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motion for acquittal or new trial is likely to succeed or that the government has agreed not to

recommend imprisonment before releasing a defendant pending sentencing when the

presumption applies).

       Varney can avoid detention only if he “clearly show[s] that there are exceptional

reasons why [his] detention would not be appropriate.” 18 U.S.C. § 3145(c); see also United

States v. Christman, 596 F.3d 870, 871 (6th Cir. 2010) (“[W]e hold that the district court

erred in not considering whether [the defendant] established exceptional reasons to support

his release pending sentencing.”). An exceptional reason is one that is “rare” or “out of the

ordinary.” United States v. Miller, 568 F. Supp. 2d 764, 774 (E.D. Ky. 2008) (quotation

omitted). In cases where the presumption of detention applies, the defendant will almost

certainly serve at least some term of incarceration. Because incarceration is inevitable, the

defendant must provide an exceptional reason to begin that term of incarceration later, rather

than sooner. Put that way, the issue is not whether Varney can identify some reason why

incarceration in general would be hard on him. Instead, the issue is whether Varney can

identify a reason why detention at this particular time—between his plea hearing and his

sentencing hearing—would be inappropriate.

       Varney argues this Court should release him because he has several serious medical

conditions and because his wife, co-defendant Helen Varney, requires constant care. Neither

reason is an “exceptional” one, so neither justifies his release pending sentencing.

       Dennis Varney’s Medical Needs: Varney has chronic obstructive pulmonary disease

and coal workers' pneumoconiosis (known as black lung disease).            To deal with those

illnesses, he “requires oxygen and inhalers 24 hours a day,” and he also takes other

medications that “must be administered at specific times.” R. 274 at 2. An immediate


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medical need—such as impending, required surgery—may be an exceptional reason

justifying release. See United States v. Koon, 6 F.3d 561, 567 (9th Cir. 1993) (providing

examples of exceptional reasons that may justify release). A chronic medical condition

controlled by medication is generally not an exceptional reason justifying release. A chronic

condition will be present whenever the defendant is incarcerated, so it does not provide a

unique reason why pre-sentencing detention would be inappropriate. See United States v.

Parker, No. 1:10-CR-28, 2011 WL 672309, at *2 (E.D. Tenn. Feb. 18, 2011) (collecting

cases).     Moreover, Varney’s motion does not show (or even argue) that he would receive

inadequate medical care while in custody. As the Magistrate Judge noted, there is no reason

to believe that is the case. R. 275 at 5. Varney’s objection does not challenge the Magistrate

Judge’s reasoning because it simply restates the arguments from his original motion. R. 276

at 3. While Varney’s medical conditions appear to be serious, they are not exceptional

reasons justifying release pending sentencing.

          Helen Varney’s Medical Needs: Varney’s wife, Helen Varney, “needs 24-hour care

and assistance [and] . . . oxygen 24 hours a day.” R. 274 at 2. Helen Varney’s daughter, co-

defendant Sheila Barton, helps Varney care for his wife. Id. at 3. Varney argues that if both

he and Barton are detained, there will be no one to care for Helen Varney. Id. The

Magistrate Judge explained that a defendant’s detention almost always results in hardship to

the defendant’s family, regardless of whether the detention begins pre- or post-sentencing.

So, familial hardship is not an exceptional reason that justifies release. R. 275 at 5 (citing

Miller, 568 F. Supp. 2d at 774 (collecting cases)). Varney’s objection faults the Magistrate

Judge for not proving that Varney’s other family members can (and will) care for Helen

Varney. R. 276 at 3. That argument misplaces the burden of proof. The Magistrate Judge is


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not required to show that there are no exceptional reasons that justify Varney’s release;

instead, Varney must show that there are exceptional reasons that justify his release. See

Christman, 596 F.3d at 871 (requiring the district court to consider whether the defendant

established exceptional reasons). At best, Varney has shown that his detention will burden

his other family members, who will have to take over his role as a caretaker to his wife. That

is an unfortunate consequence of his detention, but it is not an exceptional reason that

justifies his release pending sentencing. See United States v. Cook, 42 F. App'x 803, 804

(6th Cir. 2002) (affirming a district court’s finding that “hardship to family” was not an

exceptional reason that justified release).

       Accordingly, and for the reasons stated on the record, it is ORDERED that the

defendant’s objections, R. 276, are OVERRULED, and this Court ACCEPTS and

ADOPTS Magistrate Judge Hanly A. Ingram’s Report and Recommendation, R. 275, and

DENIES the defendant’s motion for release pending sentencing, R. 274.

       This the 31st day of May, 2013.




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